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            IN THE UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                    NORTHERN DIVISION

CHRISTOPHER EVERETT
ADC #152664                                                    PLAINTIFF

v.                    No. 3:20-cv-176-DPM-JTK

CANTRALL, Disciplinary Officer, NCU;
JUSTIN PETERS, Appeals Officer, NCU;
NURZUHUL FAUST, Warden, NCU;
DEXTER PAYNE, Director, ADC;
VICKEY HAYCOX, Executive Assistant,
ADC; TERRIE BANISTER, Disciplinary
Hearing Officer, ADC; KEITH WADDLE,
Disciplinary Hearing Officer, ADC;
and RAYMOND NAYLOR, Disciplinary Hearing
Administrator ADC                                         DEFENDANTS

                                 ORDER
     The Court adopts Magistrate Judge Kearney's unopposed partial
recommendation, Doc. 9.        FED.   R. CIV. P. 72(b) (1983 addition to
advisory committee notes).       Everett's claims against Banister are
dismissed without prejudice.
     So Ordered.


                                                   y
                                  D.P. Marshall Jr.
                                  United States District Judge
